AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Middle District of Tennessee

             In the Matter of the Search of
         (Briefly describe the property to be searched
          or identify the person by name and address)                  j        Case No.
 Residence Located at 7215 Hidden Lake Dr., Fairview,
Tennessee 37062 and All Other Storage Areas, Vehicles
           and Units Associated Therewith

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A

located in the               Middle               District of          Tennessee               , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               L( evidence of a crime;

               Y( contraband, fruits of crime, or other items illegally possessed;
                    property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                       Offense Description

        18 U.S.C. 2252A                            Trafficking of Child Pornography
        18 U.S.C. 1591, 1594                       Sex Trafficking
          The application is based on these facts:
        See Attachment C

          d Continued on the attached sheet.
          C) Delayed notice of       days (give exact ending date if more than 30 days:                                ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                          y Applicant's signatu
                                                                                        FBI Special Agent Carla Rexing
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:               • ;PA.                                                   (" -,2,A 0                    T~~
                                                                                                Judge's signature     Iq

City and state: Nashville, Tennessee                                        United States Magistrate Judge Jeffery S. Frensley
                                                                                             Printed name and title

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                                      Attachment A

                       Descriptions of Places and Items to Be Searched

Premises

      The premises of 7215 Hidden Lake Drive, Fairview, Tennessee 37062, in the Middle
      District of Tennessee, including all attached and unattached rooms, attics, basements,
      garages and storage areas, safes, briefcases, containers, trash area, surrounding grounds,
      vehicles and outbuildings assigned to or part of the premises.


Premises' Physical Description

      Stories: Two-story Residence
      Construction type: Brick and siding construction
      Color: Red brick with light-colored siding material
      Mailbox: Dark-colored and attached to a wood post


Premises Location

      This residence is located within Williamson County, Tennessee, more specifically in
      Fairview, Tennessee. It is located at 7215 Hidden Lake Drive, Fairview, Tennessee. The
      residence is a single-family, two story residence consisting of red brick and light-colored
      siding on the front and light-colored siding on the sides of the residence. There is a two-
      car attached garage on the front of the residence with a paved driveway. The mailbox is
      dark-colored and attached to a wood post on the left side of the driveway.


Vehicles

      Owned or operated by Christopher Stafford


Item/Computer

      Any cellular phones, computer(s), related peripherals, and computer media found within
      the above described premises or vehicles.

      Documents that are indicia of ownership, receipts, passwords




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                                     house.
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                                          Attachment B

                                        Items to Be Seized

Materials that constitute evidence of the commission of criminal offenses, or contraband, the
fruits of crimes, or property designed or intended for use or which is or has been used as the
means or committing criminal offense, namely violations of 18 U.S.C. §§ 2252A, 1591, and
1594, including but not limited to the following:

       1.      Any records or other items, including electronic correspondence, pertaining to the
               transmission, distribution, receipt, solicitation, advertising, or possession of child
               pornography as defined in 18 U.S.C. § 2256(8); visual depictions of minors
               engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2); child
               erotica; a sexual interest in children; or sexual activity involving children.

       2.      Any records or other items, including electronic correspondence, pertaining to
               recruiting, enticing, harboring, transporting, providing, obtaining, advertising,
               maintaining, patronizing, or soliciting by any means a person, or who benefits
               financially or by receiving anything of value to cause a person to engage in a
               commercial sex act as defined in 18 U.S.C. §§ 1591 and 1594.

       3.      Any records or other items pertaining to any minor depicted engaging in sexually
               explicit conduct.

       4.      Correspondence, "trophies," grooming aids, and/or other items demonstrating an
               interest in the exploitation of children.

       5.      Any visual depictions of minors.

       6.      Any computer software that may be utilized to create, receive, distribute, store,
               modify, or destroy any of the evidence sought.

       7.      Items containing or displaying passwords, access codes, user names, or other
               identifiers necessary to examine or operate items, software, or information seized.

       8.      Records of Internet activity, including firewall logs, caches, browser history and
               coolies, "bookmarked" or "favorite" web pages, search terms that the user entered
               into any Internet search engine, and records of user-typed web addresses.

       9.      Computer software, hardware, or digital contents related to the sharing of Internet
               access over wired or wireless networks allowing multiple persons to appear on the
               Internet from the same IP address.

       10.     Any records or other items evidencing possession, use, ownership, or access to
               any of the premises to be searched or property to be seized, including, but not



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         limited to, electronic sales receipts, bills for utilities and Internet/online access,
         credit card receipts, and rental agreements and other identification documents.

   11.   If computers or other digital devices are found in a running state, the investigator
         may acquire evidence from the devices prior to shutting the devices off. This
         acquisition may take several hours depending on the volume of data.




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                                     Attachment C
                        Affidavit in Support of Search Warrant

I, Carla Rexing, being first duly sworn, do depose and state as follows:

1.      I have been a Special Agent with the Federal Bureau of Investigation ("FBI") since May
        2017. Prior to that time, I was an intelligence analyst with the FBI from May 2009 through
        May 2017 assisting in investigations of counterintelligence, criminal, cyber, and terrorist
        threats. I am currently assigned to the FBI Memphis Division, Nashville Resident Agency's
        Violent Crime Gang Task Force and investigate federal crimes within the Middle District
        of Tennessee, to include statutes involving the sexual exploitation of children under Title
        18, United States Code, Section 2251, et seq, and statutes involving peonage, slavery and
        trafficking in persons under Title 18, United States Code, Sections 1591 and 1594.

2.      As part of my daily duties, I investigate criminal violations relating to child exploitation
        and child pornography including violations pertaining to the illegal production,
        distribution, receipt, and possession of child pornography, in violation of 18 U.S.C. §§
        2251, 2252, and 2252A, and trafficking in persons, in violation of 18 U.S.C. §§ 1591 and
        1594. 1 have received training in the area of child pornography and child exploitation and
        have observed and reviewed numerous examples of child pornography (as defined in 18
        U.S.C. § 2256) in all forms of media, including computer media.

3.      This affidavit is made in support of an application for a warrant to search the residence
        located at 7215 Hidden Lake Dr., Fairview, Tennessee 37062 ("Subject Premises"), a
        single-family, two-story residence consisting of red brick and light-colored siding on the
        front and light-colored siding on the sides of the residence. There is a two-car attached
        garage on the front of the residence with a paved driveway. The mailbox is dark-colored
        and attached to a wood post on the left side of the driveway.

4.      The purpose of this application is to seize evidence of violations of 18 U.S.C. §
        2252A(a)(5)(B), which make it a crime to possess child pornography; violations of 18
        U.S.C. § 2252A(a)(2), which make it a crime to distribute or receive child pornography in
        interstate commerce by computer; 18 U.S.C. § 2252A(a)(1), which make it a crime to
        transport or ship child pornography in interstate commerce; 18 U.S.C. § 1591, which make
        it a crime to recruit, entice, harbor, transport, provide, obtain, advertise, maintain,
        patronize, or solicit by any means a person, or who benefits financially or by receiving
        anything of value to cause a person to engage in a commercial sex act; and 18 U.S.C. §
        1594, which make it a crime to attempt to violation 18 U.S.C. § 1591.

5.      I am familiar with the information contained in this affidavit based upon the investigation
        I have conducted, facts related to me by other law enforcement officers, and my
        conversations with other law enforcement officers who have engaged in numerous
        investigations involving child exploitation and child pornography.




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6.   Because this affidavit is being submitted for the limited purpose of securing a search
     warrant, I have not included each and every fact known to me concerning this investigation.
     I have set forth only those facts that I believe are necessary to establish probable cause to
     believe that evidence of violations of 18 U.S.C. §§ 2252A, 1591, and 1594 are located at
     the Subject Premises and within computer(s), related peripherals, and computer media
     found at the Subject Premises.

7.   As a result of the instant investigation described more fully below, there is probable cause
     to believe that evidence, contraband, fruits, and instrumentalities of violations of federal
     law, including 18 U.S.C. §§ 2252A, 1591, and 1594 are present at the Subject Premises.

          Child Exploitation Crimes - Statutes and Nature of Offenders

8.   In my capacity as an investigator of criminal violations relating sex trafficking, child
     exploitation, and child pornography, I have become familiar with the following federal
     statutes:

      •     Transportation of Child Pornography, 18 U.S.C. § 2252A(a)(1), which makes it
            unlawful for someone to knowingly mail, or transport or ship using any means or
            facility of interstate or foreign commerce or in or affecting interstate or foreign
            commerce by any means, including by computer, any child pornography.

      •     Receipt and Distribution of Child Pornography, 18 U.S.C. § 2252A(a)(2), which
            makes it unlawful for someone to knowingly receive or distribute any child
            pornography that has been mailed, or using any means or facility of interstate or
            foreign commerce shipped or transported in or affecting interstate or foreign
            commerce by any means, including by computer.

      •     Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)(B), which makes it
            unlawful for someone to knowingly possesses any book, magazine, periodical, film,
            videotape, computer disk, or any other material that contains an image of child
            pornography that has been mailed, or shipped or transported using any means or
            facility of interstate or foreign commerce or in or affecting interstate or foreign
            commerce by any means, including by computer, or that was produced using
            materials that have been mailed, or shipped or transported in or affecting interstate
            or foreign commerce by any means.

     •      Sex Trafficking of Children or by Force, Fraud, or Coercion, 18 U.S.C. § 1591,
            which makes it unlawful for any person in or affecting interstate or foreign
            commerce, or within the special maritime and territorial jurisdiction of the United
            States, to recruit, entice, harbor, transport, provide, obtain, advertise, maintain,
            patronize, or solicit by any means a person; or benefits, financially or by receiving
            anything of value, from participation in a venture which has engaged in an act
            described above in this paragraph, to engage in a commercial sex act.



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         •     Attempted Sex Trafficking of Children or by Force, Fraud, or Coercion, 18 U.S.C.
               § 1594, which makes it unlawful to attempt to violate 18 U.S.C. § 1591.

         •     Pursuant to 18 U.S.C. § 2256(8), Child Pornography is defined as "any visual
               depiction, including any photograph, film, video, picture, or computer or computer-
               generated image or picture, whether made or produced by electronic, mechanical,
               or other means, of sexually explicit conduct, where — (A) the production of such
               visual depiction involves the use of a minor engaging in sexually explicit conduct;
               (B) such visual depiction is a digital image, computer image, or computer-generated
               image that is, or is indistinguishable from that of a minor engaging in sexually
               explicit conduct; or (C) such visual depiction has been created, adapted, or modified
               to appear that an identifiable minor is engaging in sexually explicit conduct."

         •     Pursuant to 18 U.S.C. § 2256(1), the term "minor," as "any person under the age of
               eighteen years."

9.      Based upon my knowledge, experience, and training in child exploitation and child
        pornography investigations, and the training and experience of other law enforcement
        officers with whom I have had discussions, there are certain characteristics common to
        individuals involved in the collection of child pornography:

         •     Child pornography collectors may receive sexual gratification, stimulation, and
               satisfaction from contact with children; or from fantasies they may have viewing
               children engaged in sexual activity or in sexually suggestive poses, such as in
               person, in photographs, or other visual media; or from literature describing such
               activity.

         •     Individuals who possess, transport, receive, and/or distribute child pornography
               often collect sexually explicit materials, which may consist of photographs,
               magazines, motion pictures, video tapes, books, slides, computer graphics or other
               images, as well as literature describing sexually explicit activity involving children.
               Such individuals frequently store their child pornography on multiple electronic,
               optical, and/or electromagnetic storage media, including not only their computer,
               but also on external hard drives, floppy disks, CD-ROMs, DVDs, memory sticks,
               thumb drives, cell phones, PDAs, and other such media. Many of these individuals
               also collect child erotica, which consists of items that may not rise to the level of
               child pornography but which nonetheless serve a sexual purpose involving
               children. These individuals often use these materials for their own sexual arousal
               and gratification. Further, they may use these materials to lower the inhibitions of
               children they are attempting to seduce, to arouse the selected child partner, or to
               demonstrate the desired sexual acts.




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    •       Individuals who possess, transport, receive, and/or distribute child pornography
            often seek out like-minded individuals, either in person or on the Internet, to share
            information and trade depictions of child pornography and child erotica. The
            different Internet-based vehicles used by such individuals to communicate with
            each other include, but are not limited to, P2P, e-mail, e-mail groups, bulletin
            boards, Internet Relay Chat, newsgroups, instant messaging, and other similar
            interfaces.

        • Individuals who possess, transport, receive, and/or distribute child pornography
          often collect, read, copy, or maintain names, addresses (including e-mail
          addresses), phone numbers, or lists of persons who have advertised or otherwise
          made known in publications and on the Internet that they have similar sexual
          interests. These contacts are maintained as a means of personal referral, exchange,
          or commercial profit. These names may be maintained in the original medium from
          which they were derived, in address books or notebooks, on computer storage
          devices, or merely on scraps of paper.

        •   Most individuals who possess, transport, receive, and/or distribute child
            pornography rarely, if ever, dispose of their sexually explicit materials and may go
            to great lengths to conceal and protect from discovery, theft, and damage their
            collections of illicit materials. These individuals almost always maintain their
            collections in the privacy and security of their homes or other secure locations such
            as vehicles. These individuals may keep their collections in locked containers
            including filing cabinets, safes, or lockboxes. These individuals may also maintain
            their collections in password-protected or encrypted electronic media. They may
            keep these passwords, and other information concerning their use of the computer,
            on handwritten or printed notes that they store in personal areas and around the
            computer.

        • Possessors, traders and distributors of child pornography sometimes store their
          illegal images and videos online in remote storage accounts such as DropBox or
          iCloud. Therefore, any records, documents, invoices and materials in any format
          or medium that concern online storage or other remote computer storage could
          indicate that a person at the Subject Premises is storing illegal material in an online
          storage account.

        • Files, logs, and records relating to P2P files can contain the names of files sent
          through the P2P service, as well as the date and time the files were transferred.
          These records could help identify the individual who transferred the child
          pornography images at the Subject Premises. Additionally, these records can
          provide historical information about the trading of child pornography by
          individuals at the Subject Premises.




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                                     Relevant Definitions

10.   As part of my training, I have become familiar with the Internet, a global network of
      computers and other electronic devices that communicate with each other using various
      means, including standard telephone lines, high-speed telecommunications links
      copper and fiber optic cable), and wireless transmissions including satellite. Due to the
      structure of the Internet, communications between computers on the Internet routinely
      cross state and international borders, even when the computers communicating with each
      other are in the same state. Individuals and entities use the Internet to gain access to a
      wide variety of information; to send information to, and receive information from, other
      individuals; to conduct commercial transactions; and to communicate via electronic mail
      ("e-mail"). An individual who wants to use Internet e-mail must first obtain an account
      with a computer that is linked to the Internet — for example, through a university, an
      employer, or a commercial service — which is called an "Internet Service Provider" or
      "ISP" (see definition of "Internet Service Provider" below). Once the individual has
      accessed the Internet, that individual can use Internet mail services, including sending and
      receiving e-mail. In addition, the individual can visit websites (see definition of "websites"
      below), and make purchases from them. Additionally, digital software or hardware exists
      that allows persons to share digital access over wired or wireless networks allowing
      multiple persons to appear on the Internet from the same IP address; and examination of
      these items can reveal information about the authorized or unauthorized use of Internet
      connection at the residence.

11.   Set forth below are some definitions of technical and other terms, used throughout this
      affidavit, and in Attachments A and B hereto, pertaining to the Internet, computers, and
      child exploitation cases.

         •   Computer: The term "computer" is defined by 18 U.S.C. § 1030(e)(1) to mean
             "an electronic, magnetic, optical, electrochemical, or other high speed data
             processing device performing logical, arithmetic, or storage functions, and includes
             any data storage facility or communications facility directly related to or operating
             in conjunction with such device, but such term does not include an automated
             typewriter or typesetter, a portable hand held calculator, or other similar device."

         •   Computer Equipment:          The term Computer equipment" means any computer
             hardware, computer software, computer-related documentation, storage media, and
             data.

         •   Computer Hardware:             Computer hardware, as used herein, consists of all
             equipment that can receive, capture, collect, analyze, create, display, convert, store,
             conceal, or transmit electronic, magnetic, or similar computer impulses or data.
             Computer hardware includes any data-processing devices (including, but not
             limited to, central processing units, internal and peripheral storage devices such as
             fixed disks, external hard drives, floppy disk drives and diskettes, and other
             memory storage devices); peripheral input/output devices (including, but not


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           limited to, keyboards, printers, video display monitors, and related communications
           devices such as cables and connections), as well as any devices, mechanisms, or
           parts that can be used to restrict access to computer hardware (including, but not
           limited to, physical keys and locks).

           Computer Passwords & Data Security Devices: Computer passwords and data
           security devices, as used herein, consist of information or items designed to restrict
           access to or hide computer software, documentation, or data. Data security devices
           may consist of hardware, software, or other programming code. A password (a
           string of alpha-numeric characters) usually operates a sort of digital key to "unlock"
           particular data security devices. Data security hardware may include encryption
           devices, chips, and circuit boards. Data security software of digital code may
           include programming code that creates "test" keys or "hot" keys, which perform
           certain pre-set security functions when touched. Data security software or code
           may also encrypt, compress, hide, or "booby-trap" protected data to make it
           inaccessible or unusable, as well as reverse the progress to restore it.

       •   Computer Software: Computer software is digital information that can be
           interpreted by a computer and any of its related components to direct the way they
           work. Computer software is stored in electronic, magnetic, or other digital form.
           It commonly includes programs to run operating systems, applications, and utilities,
           communication and data security software, logs, history or backup files; encryption
           code, user names, passwords. This information may be stored deliberately,
           inadvertently, or automatically.

           Computer system, related peripherals, and computer media: As used in this
           affidavit, the terms "computer system and related peripherals, and computer media"
           refer to tapes, cassettes, cartridges, streaming tape, commercial software and
           hardware, computer disks, thumb drives, disk drives, monitors, computer printers,
           modems, tape drives, disk application programs, data disks, system disk operating
           systems, magnetic media floppy disks, hardware and software operating manuals,
           tape systems and hard drives and other computer-related operation equipment,
           digital cameras, scanners, in addition to computer photographs, Graphic
           Interchange formats and/or photographs, and other visual depictions of such
           Graphic Interchange formats, including, but not limited to, JPG, JPEG, GIF, TIF,
           AVI, and MPEG.

           Internet:       The Internet is a global network of computers and other electronic
           devices that communicate with each other via standard telephone lines, high-speed
           telecommunications links (e.g., fiber optic cable), and wireless transmissions. Due
           to the structure of the Internet, connections between devices on the Internet often
           cross state and international borders, even when the devices communicating with
           each other are in the same state.




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       •   Internet Service Providers (ISPs) and the Storage of ISP Records:
                   Internet Service Providers are commercial organizations that are in business
           to provide individuals and businesses access to the internet. ISPs provide a range
           of functions for their customers including both wired and wireless access to the
           Internet, web hosting, e-mail, remote storage, and co-location of computers and
           other communications equipment. ISPs can offer a range of options in providing
           access to the Internet including telephone-based dial-up, broadband based access
           via digital subscriber line (D.L.), mobile wireless broadband Internet access, cable
           television, dedicated circuits, or satellite-based subscription. ISPs typically charge
           a fee based upon the type of connection and volume of data, called bandwidth, that
           the connection supports. Many ISPs assign each subscriber an account name — a
           user name or screen name, an "e-mail address," an e-mail mailbox, and a personal
           password selected by the subscriber. By using a computer equipped with a
           telephone, cable, or attached broadband wireless cable modem, the subscriber can
           establish communication with an ISP over a telephone line, through a cable system,
           or through wireless digital signals and can access the Internet by using his or her
           account name and personal password. ISPs maintain records ("ISP records")
           pertaining to their subscribers (regardless of whether those subscribers are
           individuals or entities).      These records may include account application
           information, subscriber and billing information, account access information (often
           times in the form of log files), e-mail communications, information concerning
           content uploaded and/or stored on or via the ISP's servers, and other information,
           which may be stored both in computer data format and in written or printed record
           format. ISPs reserve and/or maintain computer disk storage space on their
           computer system for their "subscribers" use. This service by ISPs allows for both
           temporary and long-term storage of electronic communications and many other
           types of electronic data and files. Typically, e-mail that has not been opened by an
           ISP customer is stored temporarily by an ISP incident to the transmission of that e-
           mail to the intended recipient, usually within an area known as the home directory.
           Such temporary, incidental storage is defined by statute as "electronic storage,"
           see 18 U.S.C. § 2510(17), and the provider of such a service is an "electronic
           communications service. "An "electronic communications service," as defined
           by statute, is "any service which provides to users thereof the ability to send or
           receive wire or electronic communications. 18 U.S.C. § 2510(15). A service
           provider that is available to the public and provides storage facilities after an
           electronic communication has been transmitted and opened by the recipient, or
           provides other long-term storage services to the public for electronic data and files,
           is defined by statute as providing a "remote computing service." 18 U.S.C. §
           2711(2).

       •   Internet Protocol Address (IP Address): Every computer or device on the
           Internet is referenced by a unique Internet Protocol address the same way every
           telephone has a unique telephone number. An IP address is a series of four numbers
           separated by a period, and each number is a whole number between 0 and 254. An
           example of an IP address is 192.168.10.102. Each time an individual accesses the


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             Internet, the computer from which that individual initiates access is assigned an IP
             address. A central authority provides each ISP a limited block of IP addresses for
             use by that ISP's customers or subscribers. Most ISP's employ dynamic IP
             addressing, that is they allocate any unused IP address at the time of initiation of an
             Internet session each time a customer or subscriber accesses the Internet. A
             dynamic IP address is reserved by an ISP to be shared among a group of
             computers over a period of time. The ISP logs the date, time and duration of the
             Internet session for each IP address and can identify the user of that IP address for
             such a session from these records. Typically, users who sporadically access the
             Internet via a dial-up modem will be assigned an IP address from a pool of IP
             addresses for the duration of each dial-up session. Once the session ends, the IP
             address is available for the next dial-up customer. On the other hand, some ISP's,
             including most cable providers, employ static IP addressing, that is, a customer or
             subscriber's computer is assigned one IP address that is used to identify each and
             every Internet session initiated through that computer. In other words, a static IP
             address is an IP address that does not change over a period of time and is typically
             assigned to a specific computer.

         •   Sexually Explicit Conduct: Sexually explicit conduct includes actual or
             simulated (i) sexual intercourse, including genital-genital, oral-genital, or oral-anal,
             whether between persons of the same or opposite sex; (ii) bestiality; (iii)
             masturbation; (iv) sadistic or masochistic abuse; or (v) lascivious exhibition of the
             genitals or pubic area of any persons.

         •   User name or User ID:         Most services offered on the Internet assign users a
             name or ID, which is a pseudonym that computer systems use to keep track of users.
             User names and ids are typically associated with additional user information or
             resources, such as a user account protected by a password, personal or financial
             information about the user, a directory of files, or an email address.

         •   Visual Depictions: "Visual depictions" include undeveloped film and
             videotape, and data stored on computer disk or by electronic means, which is
             capable of conversion into a visual image.

         •   Website:      A website consists of textual pages of information and associated
             graphic images. The textual information is stored in a specific format known as
             Hyper-Text Mark-up Language (HTML) and is transmitted from the web servers
             to various web clients via Hyper-Text Transport Protocol (HTTP).


                            Computers and Child Pornolzraphy

12. Based upon my knowledge, training, and experience in child exploitation and child
     pornography investigations, and the experience and training of other law enforcement



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      officers with whom I have had discussions, computers and computer technology affect the
      methods used by people who possess, receive, distribute, and transport child pornography
      in these ways.

13.   Producers of child pornography can now produce both still and moving images directly
      from a common video, digital camera, and other devices that create video and still images,
      including most cellular telephones and Personal Digital Assistants ("PDA"). Images and
      videos from such devices can be transferred easily to a computer using a hard-wired
      connection or through a wireless connection. Once on the computer, images can then be
      stored, manipulated, transferred, printed, or transferred to other devices or the Internet.
      Images and videos also can be edited by manipulating the lighting, cropping, or
      manipulating in some other way. Printed images can be scanned to create an electronic or
      computer-readable format. Because of these technologies, it is relatively inexpensive and
      technically easy to produce, store, and distribute child pornography. In addition, there is
      an added benefit to the pornographer in that this method of production does not leave as
      large of an evidence trail for law enforcement to follow.

14.   The Internet allows any computer to connect to another computer. Electronic contact can
      be made to literally millions of computers around the world. The Internet allows users,
      while still maintaining anonymity, to locate (i) other individuals with similar interests in
      child pornography; and (ii) websites that offer images of child pornography. Child
      pornography collectors can use standard Internet connections, such as those provided by
      businesses, universities, and government agencies, to communicate with each other and to
      distribute child pornography. They can also distribute and collect child pornography
      materials with peer-to-peer ("P21") file sharing, which uses software to link computers
      together through the Internet to form a network, that allows for the sharing of digital files
      among users on the network. These communication links allow contacts around the world
      as easily as calling next door. Additionally, these communications can be quick, relatively
      secure, and as anonymous as desired. All of these advantages, which promote anonymity
      for both the distributor and recipient, are well known and are the foundation of transactions
      between child pornography collectors over the Internet. Sometimes the only way to
      identify both parties and verify the transportation of child pornography over the Internet is
      to examine the recipient's computer, including the Internet history and cache to look for
      "footprints" of the websites and images accessed by the recipient.

15.   The computer's capability to store images in digital form makes it an ideal repository for
      child pornography. Internal and external computer hard drives typically store vast amounts
      of data, and hard drives with the capacity of 500 or more gigabytes — which can store tens
      of thousands of images at very high resolution — are not uncommon. Other electronic
      storage media, such as thumb drives and memory sticks, can store hundreds of images and
      dozens of videos. Likewise, optical storage media, which includes CD-ROMs and DVDs,
      and electromagnetic storage media, such as floppy disks, also can hold hundreds of images
      and multiple videos. Such electronic, optical, and electromagnetic storage media are very
      commonly used by those who collect child pornography to store images and videos
      depicting children engaged in sexually explicit activity. Agents who execute child-


                                               I
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      pornography search warrants often find electronic, optical, :and/or electromagnetic storage
      media containing child pornography in the same location -as "or near the computer that was
      used to obtain, access, and/or store child pornography. However, smaller storage devices,
      such as "thumb" drives that can store gigabytes of information, can be stored in hidden
      locations, a pocket, briefcase, etc. Once these techniques are used, there is no readily
      apparent evidence at the "scene of the crime." Only with careful laboratory examination
      of electronic storage devices is it possible to recreate the evidence trail.

16.   People who view and collect child pornography often highly prize their collection and will
      store some or all of their collection on such small, portable computer media, which can be
      easily hidden and/or transported due to the size of the media. For example, in addition to
      storing child pornography collections on and near their computers, such people often also
      store their child pornography computer media in locked, secure areas, including in their
      personal vehicles, especially if the collector is the sole driver of the vehicle(s). Such secure
      storage is readily transportable and makes it unlikely that others will discover their criminal
      activity.

17.   Computer files or remnants of such files can be recovered months or even years after they
      have been downloaded onto a hard drive or other storage device, deleted, or viewed via the
      Internet. Electronic files downloaded to a hard drive or other storage devices can be stored
      for years at little or no cost. Even when such files have been deleted, they can be recovered
      months or years later using readily-available forensics tools. When a person "deletes" a file
      on a home computer, the data contained in the file does not actually disappear; rather, that
      data remains on the hard drive or other storage device until it is overwritten by new data.
      Therefore, deleted files, or remnants of deleted files, may reside in free space or slack space
      - that is, in space on the storage device that is not allocated to an active file or that is unused
      after a file has been allocated to a set block of storage space - for long periods of time
      before they are overwritten. In addition, a computer's operating system may also keep a
      record of deleted data in a "swap" or "recovery" file. Similarly, files that have been viewed
      via the Internet are automatically downloaded into a temporary Internet directory or
      "cache." The browser typically maintains a fixed amount of hard drive space devoted to
      these files, and the files are only overwritten as they are replaced with more recently viewed
      Internet pages. Thus, the ability to retrieve residue of an electronic file from a hard drive
      depends less on when the file was downloaded or viewed than on a particular user's
      operating system, storage capacity, and computer habits.

18.   Many individuals who collect and traffic child pornography also collect child erotica,
      which consists of items that may not rise to the level of child pornography but which
      nonetheless serve a sexual purpose involving children. Such individuals also often collect
      written stories about sexual activity involving children.

19.   Searching and seizing information from computers often requires agents to seize most or
      all electronic storage devices (along with related peripherals) to be searched later by a
      qualified computer expert in a laboratory or other controlled environment. This is true
      because of the following:


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          •   The volume of evidence:        Computer storage devices (like hard disks, diskettes,
              tapes, laser disks) can store the equivalent of millions of pages of information.
              Additionally, a suspect may try to conceal criminal evidence; he or she might store
              it in random order with deceptive file names. This may require searching
              authorities to examine all the stored data to determine which particular files are
              evidence or instrumentalities of crime. This sorting process can take weeks or
              months, depending on the volume of data stored, and it would be impractical and
              invasive to attempt this kind of data search on-site.

          •   Technical Requirements:        Searching computer systems for criminal evidence is
              a highly technical process requiring expert skill and a properly controlled
              environment. The vast array of computer hardware and software available requires
              even computer experts to specialize in some systems and applications, so it is
              difficult to know before a search which expert is qualified to analyze the system
              and its data. In any event, however, data search protocols are exacting scientific
              procedures designed to protect the integrity of the evidence and to recover even
              "hidden," erased, compressed, password-protected, or encrypted files. Because
              computer evidence is vulnerable to inadvertent or intentional modification or
              destruction (both from external sources or from destructive code imbedded in the
              system as a "booby trap"), a controlled environment may be necessary to complete
              an accurate analysis. Further, such searches often require the seizure of most or all
              of a computer system's input/output peripheral devices, related software,
              documentation, and data security devices (including passwords) so that a qualified
              computer expert can accurately retrieve the system's data in a laboratory or other
              controlled environment.

      In light of these concerns, I respectfully request the Court's permission to seize the
      computer hardware (and associated peripherals) that are believed to contain some or all of
      the evidence described in the warrant, and to conduct an off-site search by Homeland
      Security Investigations, Federal Bureau of Investigation, or any federal or state law
      enforcement agency of the hardware for the evidence described, if, upon arriving at the
      scene, the agents executing the search conclude that it would be impractical to search the
      computer hardware on-site for this evidence.

                                 Information about Kik Application

20. Kilt Interactive Inc., a United States-based company (previously a Waterloo-based
     technology company) that owns an instant messenger application (app) called Kik
     Messenger, also lalown as Kik, is used on mobile devices and is available free of charge
     on iOS, Android, and Windows smart phone operating systems. The app is heavily
     marketed to teen users. After users register a username, Kik Messenger uses a smartphone's
     data plan or Wi-Fi to transmit and receive messages, photos, videos, sketches, mobile
     webpages, and other content. Kik is known for its features that include preserving users'
     anonymity, including allowing users to register without providing a telephone number and


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      preventing users from being located on the service (including by the company itself)
      through any information other than their chosen username. According to Kik Interactive,
      as of May 2016, the app had approximately 300 million registered users, and was used by
      approximately 40 percent of United States teenagers.

21.   Kik Messenger has drawn controversy due to its reported involvement in a number of
      incidents of child exploitation. The app has been criticized as unsafe for minors due to its
      anonymity features and allegedly weak parental control mechanisms.

                                         Investigation

22.   On or about October 31, 2019, the Shelbyville Police Department ("SPD"), located at 109
      Lane Parkway, Shelbyville, Tennessee, received a complaint regarding a male user on Kik
      Messenger. The SPD contacted FBI Knoxville/Tullahoma RA ("FBI Knoxville") regarding
      the complaint. An SPD detective and FBI Special Agent interviewed the complainant that
      day.

23.   hi late November of 2019, FBI Memphis/Nashville RA ("FBI Nashville") received an
      investigative referral pertaining to a possible suspect identified by FBI Knoxville who was
      located in the FBI Nashville area of responsibility. The suspect was identified as having
      distributed videos depicting suspected child exploitation material via the Kik application
      in November 2019.

24.   The complainant identified Kik username titansfan20180000 as an account being used to
      sexually exploit children. The complainant had been participating in Kik chat groups
      involving BDSM and sexual taboo. The complainant has been in chat sessions with
      titansfan20180000 dating back several months to April 2019.p

25.   According to the complainant, on or about April 14, 2019, titansfan20180000 sent a ftill-
      face image of himself to the complainant. On or about June 28, 2019, titansfan20180000
      sent another image of himself to complainant. The images are of a white male in his mid
      to late forties with a short haircut. The images received by the complainant on these
      separate dates are believed to be the same person.

26.   According to a review of the Kik chats between complainant and titansfan20180000 that
      occurred in October and November 2019, titansfan20180000 discussed a desire to have
      sex with children. On October 30, 2019 and October 31, 2019, titansfan20180000 sent
      messages to the complainant detailing an arrangement where he could exchange
      methamphetamine for sex with children in Shelbyville, Tennessee, as detailed below. In
      the messages referenced hereinafter, titansfan20180000 will be referred to as "Titansfan":

           Titansfan:     Hey sexy

           Titansfan:     Would a be interested in joining a couple with a 9 and 13 yr old girl
                          in Shelbyville? Just have to get a couple hundred bucks in meth?


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        Complainant: Seriously? Wow. But I dunno where to get meth (emoji)

        Titansfan:    They do

        Titansfan:    Man wife n young daughters

        Complainant: Ooohh. For real, tho? I mean this isnt just some junkie tryin to pull a
                     fast one?

        Titansfan:    I don't think so

        Titansfan:    Would u be game? All could be involved. Said 13 yr old was on meth
                      sucking dog the other night

        Complainant: What? That's insane. I could be down for that

        Titansfan:    Fucking hot huh?

        Complainant: Hots not even the word

        Titansfan:    I agree. 9 yr old is chubby but cute

        Complainant: You've met them? Seen pics?

        Titansfan:    Pics yes. He sucks cock too

        Complainant: Where do you even meet these people? I'm impressed (emoji)

        Titansfan:    I think that scene could be fun

        Complainant: So the dad is bi?

        Titansfan:    He is in Shelbyville

        Titansfan:    Yes

        Complainant: Sweet. I do like bi guys

        Titansfan:    Would that not be fun though

        Complainant: Is the 9 yo the only one you've seen pics of?

        Titansfan:    And 13 and him and wife

        Titansfan:    It would be fun. U smoke meth?

        Complainant: What do they look like? I'm totally not attracted to people that have
                     that meth junkie look.


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        Complainant: I've never smoked it. Only snorted

        Titansfan:    Not meth junkie looking

        Complainant: Ok. Cool

        Titansfan:    Would a do it and get freaky?

        Complainant: Hahaha you shouldnt even have to ask. I have new toys I need to break
                     in... hahaha

        Titansfan:    I've missed talking to u. I knew you'd like it even with 9yr old pussy
                      involved

        Complainant: Lol

        Complainant: I've been pretty busy lately (emoji)

        Titansfan:    You're still awesome and nasty

        Complainant: Of course I am

        Titansfan:    So u interested if I can make it happen?

        Complainant: Just tell me when and where

        Titansfan:    Ok. Gonna bring that willing pussy?

        Titansfan:    Ur on with 9?

        Titansfan:    Ok

        Complainant: Well, I can't leave it at home.. Bahahaha

        Titansfan:    lol. Just making sure your ok if 9 yr old is there?

        Titansfan:    She's a cutie

        Titansfan:    Kinda chubby

        Complainant: I dont want anyone to get really hurt or anything. They dont abuse
                     them do they?

        Titansfan:    No

        Complainant: Ok. That's cool then

        Titansfan:    It's just fun


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        Complainant: I mean I would not flog or take a violet wand to some kid or anything
                     like that

        Titansfan:     Said 13 yr old did meth and sucked the dog

        Titansfan:     Me either but we can have fun n be dirty

        Complainant: Is that the only 2 kids they have? Like it's not gonna be a house full
                     of snot nosed, screaming brats, right?

        Titansfan:     That's it

        Titansfan:     Fuck I love how dirty you are

        Complainant: Where will this happen? I'm not dragging my ass into some couch
                     lane slum ... lol

        Titansfan:     Lol. Hotel

        Complainant: Couch lane is a really disgusting neighborhood here.

        Complainant: Ok. A hotel is cool.

        Titansfan:     I will buy a room.

        Titansfan:    U wouldn't do couch lane?

        Titansfan:     I mean fuck we are dirty?

        Complainant: Its gross. Like, you can smell it before you even get to the road.

        Complainant: Different kinda dirty, babe

        Thansfan:      Ok. I will get room

        Titansfan:    If you're ok with that scene

        Complainant: Are you sure these people are legit?

        Titansfan:    I think so.

        Titansfan:     From what he's sent

        Complainant: What do you mean?

        Titansfan:    Him and pies of wife. Etc

        Complainant: Is it just what he said or did he send you


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        Complainant: O000hh

        Complainant: Are they hot?

        Complainant: She got good tits?

        Titansfan:     Yes. Girl is chubby but cute. Wife is cute. Would be fun

        Titansfan:     Opportunity for young pussy

        Complainant: What about the older daughter? What's she like? What race are they?

        Titansfan:     White. She's sexy

        Titansfan:     It's dirty fun baby. I thought a would like

        Complainant: Cool. I don't think I'm racist. I'm just not into black chics

        Titansfan:     She's not black

        Complainant: So they want $200 or meth?

        Titansfan:     They just want meth

        Complainant: So you can get that? I've no idea where to get anything here except
                     maybe a lil weed..lol

        Titansfan:     They do

        Titansfan:     Could be fun. Would u smoke some?

        Complainant: I might. I told ya, I never smoked it

        Titansfan:     That would be cool. Get you tweaking n naked. Cock pussy and young
                       cunt. Lol

        Complainant: Your heaven ...hahaha

        Titansfan:     Sounds fun as shit huh

        Complainant: Like something none of us would ever forget ... lol

        Titansfan:    Exactly

        Titansfan:    U like young boys too or just girls?

        Complainant: You know I'm bi



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        Titansfan:    Another lady in ky. She's real. Has a 4 yr old grandson

        Titansfan:    She sucks his cock

        Complainant: That redefines grandmotherly love

        Titansfan:    U like?

        Complainant: I dunno. Never seen anything with a boy that young.

        Titansfan:    Would you try

        Complainant: I dunno. I might

        Titansfan:    He is autistic and can't talk

        Titansfan:    U could suck away

        Complainant: Does he even get an erection, tho?

        Titansfan:    Yes

        Titansfan:    She says he does

        Titansfan:    And gets a piss hard on

        Complainant: Hmm

        Complainant: Could be interesting

        Titansfan:    Wants me to rub my hard cock on his cock n balls n ass

        Titansfan:    I want you involved though

        Complainant: How?

        Complainant: What would I do?

        Titansfan:    Play

        Titansfan:    Is it too dirty for u?

        Complainant: Is anything too dirty for me? Lol and smh

        Titansfan:    lol. No

        Titansfan:    Fuck. I'd jack my cock on infant cunt. Lol



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        [break in conversation]

        Titansfan:     Mainly I was contacting you about the meth couple and to see if U
                       wanted in.

        Titansfan:     And I missed u. Others are lame.

        Complainant: Fuck yes

        Titansfan:     I love talking to you

        Complainant: I guess a lot of people would think the same thing as me... that they
                     may not be legit

        Titansfan:     I did at first too

        Titansfan:     It could a blast though

        Complainant: What convinced you?

        Titansfan:     The pies.

        Complainant: I mean, I trust you. You're really a smart guy and if you believe
                     them...

        Titansfan:     I do. They are dirty

        Titansfan:     U smoke some too. Hell it would be awesome.

        Complainant: I agree... very memorable

        Titansfan:     Definitely. Cock. Pussy and young pussy. Dog too

        Complainant: You cant bring a dog to a hotel..lol

        Complainant: Well, not all of them

        Titansfan:     He said they would host

        Titansfan:     Can a imagine how much fun that would be

        Titansfan:     Will you tweak too?

        Complainant: Find out what part of town they live in. I'll tell you if it's a really bad
                     area..lol

        Titansfan:     Lol.Ok.




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        Complainant: You might could talk me into it..lol

        Titansfan:    Lol. I think I could.

        Complainant: We'll see (emoji)

        Complainant: So about when are we talking?

        Titansfan:    Not sure.

        Titansfan:    The kids involved is a huge turn on

        Complainant: I know. You can hardly wait, I bet.. lol

        Titansfan:    Well. Don't a think it's hot?

        Complainant: What do you wanna do?

        Titansfan:    All. U getting squeamish on me? Lol

        Complainant: Hell no. Just wonderin what's on your mind is all

        Titansfan:    U know I'm dirty.

        Titansfan:    U are too

        Titansfan:    What turns ya on more. The meth couple or sucking the 4 yr old

        Titansfan:    ?

        Complainant: Couple.

        Complainant: Sorry. Was putting a movie on

        Titansfan:    It's ok sexy

        Titansfan:    What ya watching? Kindergarten orgy? Lol

        Titansfan:    I bet there are a bunch of pedo teachers

        Complainant: Hahahahah

        Complainant: You think so?

        Titansfan:    Yes. They get busted a lot. Men and women. Lol

        Complainant: Are the couples girls experienced at all?



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        Titansfan:     If u wouldn't get in trouble would a get naked with kindergarten kids


        Titansfan:     Says they are

        Complainant: Probably

        Titansfan:     That would be kinda fun

        Complainant: I mean more than just the dog

        Titansfan:     Would u like the lil boys or girls more?

        Complainant: Both. I cant pick ... lol

        Complainant: Has dad been with either girl?

        Titansfan:     Lol. Both are cool with me

        Titansfan:     Yes. Both he says

        Complainant: What do you prefer?

        Titansfan:     Girls

        Complainant: Whys that?

        Titansfan:     I'm cool with u playing with young cock though

        Complainant: Have you seen dad naked?

        Titansfan:     Yes.

        Complainant: decent?

        Titansfan:     Nice cock. Slim.

        Titansfan:     Would it turn a on naked with a group of naked kindergarten kids?

        Complainant: Depends on what happens ... lol

        Complainant: You?

        Titansfan:     Fuck yes it would if we could get dirty

        Complainant: Yeah?

        Titansfan:     Yes. Don't you think


                                           20
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        Complainant: What kinda stuff would you wanna do?

        Titansfan:     With?

        Titansfan:    U tell me baby. I wanna here how dirty u are

        Titansfan:     U know I'm game

        Complainant: I'd wanna see you cum as much as possible

        Titansfan:     Mmmm

        Titansfan:     I want you to cum too

        Complainant: I'm sure we both could ... lol

        Titansfan:     Lol. So u not ok with playing with autistic boys cock?

        Complainant: I dunno. Like I said, it would just depend on if he liked it

        Titansfan:     She says he does

        Titansfan:     Gets hard. She rubs her pussy on his cock

        Complainant: Has she fucked him?

        Titansfan:     Yes

        Titansfan:     Said he loves getting sucked

        Complainant: How long have you been talking to the couple here?

        Titansfan:     Month or so

        Titansfan:     The boy is a ky ladies grandson

        Complainant: Yeah

        Titansfan:     I think it could be fun. Too pervy?

        Complainant: Not at all

        Titansfan:     Good baby.

        Complainant: Just the couple is closer and sounds more fun

        Titansfan:     True



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        Complainant: What all are they into?

        Titansfan:     Young porn. Dogs. Meth.

        Complainant: Lol

        Titansfan:     The fun stuff. Lol

        Titansfan:     What's the youngest porn u have seen?

        Complainant: I guess about 5 or 6 but it was just pics

        Titansfan:     I've seen younger getting cock and cum

        Complainant: Yeah?

        Titansfan:     Yes. It's hot. Even seen moms sucking young sons. 1-4

        Complainant: Can they even cum tho?

        Titansfan:     No

        Complainant: What's the best you've seen?

        Titansfan:    Infants fucked. I've seen it all.

        Complainant: I've seen very little

        Titansfan:     It's hot of

        Complainant: What is?

        Titansfan:     What u think. Lol

        Complainant: Infants?

        Titansfan:     Yes n young porn. Would a watch infant?

        Complainant: I guess it would depend on what it was

        Titansfan:     What would ya watch. Lol

        Complainant: Like, I dont wanna see one killed or anything ... lol

        Titansfan:     Lol. Of course not.

        Titansfan:     Just taking cock.



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        Titansfan:    I've seen a few vids of guys fucking dead chics

        Complainant: Whaat? That sounds kinda boring too ... lol

        Titansfan:    Lol. They just layed there.

        Complainant: Hahaha I'm sure

        Titansfan:    Lol.

        Complainant: So does the mom get with the kids too?

        Titansfan:    Yes

        Titansfan:    She shot the 13 yr old up

        Complainant: With what?

        Titansfan:    They are filthy

        Titansfan:    Meth

        Titansfan:    That's when she sucked the dogs cock

        Complainant: They make vids?

        Titansfan:    No, He's not that dumb.

        Complainant: Hahaha

        Titansfan:    Sounds fund though huh

        Complainant: They sound like ppl I wanna meet, for sure

        Complainant: Mmm

        Titansfan:    Would a watch me jack off on infant pussy?

        Titansfan:    Me too

        Complainant: They aren't worried the kids will go to school and tell tho?

        Complainant: I'd watch you jack off anywhere

        Titansfan:    I guess not.

        Titansfan:    Would a enjoy it though



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            Complainant: Probably

            Titansfan:     (emoji) u didn't sound sure. Lol

            Titansfan:     I know I'm a perv. Lol

            Complainant: Meh, you are who you are

            Titansfan:     Who else you talk this duty with?

            Titansfan:     Aren't we all

           Complainant: No one ... lol

           Complainant: And yep, we sure are

            Titansfan:     I'm glad I can talk to you. U ever run into other pervs wanting taboo?

            Titansfan:     Would a do the young cock scenario too?

            Titansfan:


27.   On or about November 1, 2019 beginning at 10:30PM, titansfan20180000 sent messages
      to the complainant with statements indicated the couple previously mentioned in chats in
      Shelbyville, Tennessee, are real people, as well as the exchange of methamphetamine for
      sex with children. Titans n20180000 sent an additional image of himself to the
      complainant, along with multiple messages referencing the sexual exploitation of children.
      Directly underneath the image titansfan20180000 sent of himself was the word "camera."
      Typically, having the word "camera" appear underneath a posted image indicates the
      picture was taken within the Kik application at that time, versus an image posted fiom a
      user's photo gallery. This kind of image is referred to as a "live image." If a user posts an
      image from the photo gallery of the phone, the word "camera" does not appear. The Kik
      messages included the following:


           Complainant: So, these ppl are for real? You're sure? I dont wanna get all excited
                        just to be let down.

            Titansfan:     U know I've never seen your face and body or nudes much with you.
                           I think your fucking hot and sexy. Please show me.

           Complainant: You know I don't really do nudes..lol.

           Titansfan:      They are real. Would a want the 9, 13 and dog involved?

           Titansfan:      Please baby. Please


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         Complainant: But you've seen my face and tits plenty..hahaha. I used to post them
                      in that group.

         Titansfan:     I think you are sexy of

         Titansfan:     Please.

         Complainant: I wanna see whatever happens. Let it get as wild as it can.

         Titansfan:     I want to see more of you. I really like you

         Titansfan:     I'm game for whatever too. Will a snort meth when we do it?

        [break in conversation]

         Titansfan:     [posts image]




             ! alt(i+,1,s



       [break in conversation]

       Titansfan:       U know any meth pervs there?

       Complainant: A few. This place is riddled with meth freaks

       Titansfan:       Ones that would share kids?




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       Complainant:   I dont know any that well..lol. We're not like, secret sharing buddies
                      (emoji)

       Titansfan:     Could u talk to them more? They get geeked n they will be pedo

       Complainant:   The ones I know?

       Titansfan:     Yes. Are they pews?

       Titansfan:     I'd buy the meth

       Complainant:   I've no idea. But why would I need to do that if you already have these
                      people ready to go?

       Titansfan:     Back up

       Complainant:   Are you just messin with me, dude? Or is this for real?

       Titansfan:     Ask them.

       Titansfan:     It's real baby. I've been talking to them

       Titansfan:     But I gotta ask if you're down. Geez

       Complainant:   I'm not just gonna come straight out and ask somebody that..lol. I
                      mean, the only way I know any of them is thru damn charity work

       Titansfan:     Are they meth heads?

       Complainant:   If I met them online in a taboo chat or something, it would be different

       Titansfan:     Ok. Are u ok with 9, 13 yr old pussy and dog cock if inset it up?

       Complainant:   I might even know this couple. The way I know most tweakers that I
                      know is working with a pet food bank.

       Titansfan:     Hey e need to find tweakers with kids

       Titansfan:     We

       Titansfan:     By the way. I love you.

       Complainant:   I'm sure the ones you know you introduce us to more, couldnt they? I
                      mean, in my contact with them I cant really broach that subject.

       Complainant:   Awwwww you're so sweet hun




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         Titansfan:       I'm hoping they can. That scenario is hot. We need the meth involved.

         [break in conversation]

         Titansfan:       Help me find freaks

         Complainant: I just wanna know that they are for real and this isnt just fantasies n
                        shit. I dont like being disappointed

         Titansfan:       They are real. It's not a fantasy. But then again we're dealing with
                          meth heads

         Titansfan:       I just want you to be down and stfu up.


28.   On or about November 4, 2019, titansfan20180000 stated the man from Shelbyville,
      Tennessee, referenced above goes by the name "J Hart." On or about November 5, 2019,
      titansfan20180000 sent Kik unique username "buddy11977" as "J Hart's" unique Kik
      username to complainant. Titansfan20180000 encouraged the complainant to contact
      "buddy11977."

29.   On or about November 5, 2019, titansfan20180000 distributed two videos depicting the
      sexual exploitation of children to the complainant. The Kilt messages included the
      following:


         Titansfan:       [Sends Video 1]

         Complainant:     Who is that?

         Titansfan:       Just a vid. Like?

         Titansfan:       [Sends Video 2]

         Complainant:     Oh. I thought maybe it was that J guy

         Titansfan:       U like?


30.   On or about November 5, 2019, the videos sent by titansfan20180000 were forwarded from
      complainant's Kik account to a Kik account utilized by law enforcement in the presence of
      an SPD detective and FBI Special Agent. The SPD utilized an Apple iPhone 6 to download
      the videos originally sent by titansfan20180000. The videos were then recovered from the
      Apple iPhone 6, and a subsequent Cellebrite extraction was performed by an SPD
      lieutenant on November 5, 2019. On December 12, 2019, I reviewed the two videos sent
      by titansfan20180000 to the complainant:



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         • Video 1, titled IMG_0104.mp4: The video is approximately 10 seconds in duration.
           The video depicts a white female child who is approximately 10-12 years of age.
           The female child has dark hair and is not visibly dressed. She is lying on her back
           and is visible from her head to her shoulders. A male is straddling the female child.
           The male has an erection and is masturbating. The male ejaculates on the female
           child's face.

         • Video 2, titled Image_0103.mp4: The video is approximately 59 seconds in
           duration. The video depicts a white female child who is approximately 8-10 years
           old. The female child's head and arm are visible. She has a shirt with a black and
           white sleeve. A white male adult, visible from the pelvis, lowers his pants and the
           female performs oral stimulation of the male's penis. The male is standing and
           dressed in what appears to be a pair of sweat pants and a black shirt.

31.   On or about November 8, 2019, an FBI Special Agent submitted the hash values of the
      videos to the National Center for Missing and Exploited Children (NCMEC) LES Portal
      for comparison to known values. The hash values submitted were not known values in the
      NCMEC database.

32.   On or about November 25, 2019, Kik provided subscriber records for titansfan20180000
      subsequent to an FBI Administrative Subpoena . request. The Kik subscriber records
      contained the following Internet Protocol (IP) information, 68.52.242.87, remote port
      53222, 2019/11/25 14:43:36 UTC. On the same date, an FBI Special Agent conducted a
      Whois IP lookup of the aforementioned IP address via ultratools.com. The IP lookup
      indicated that the Internet Service Provider for that IP address is Comcast Communications,
      Inc.

33.   On or about November 26, 2019, Comcast Communications, Inc., provided results to an
      FBI Administrative Subpoena for the subscriber records associated with the
      aforementioned IP address that was identified in the Kik IP logs associated with
      titansfan20180000. The subscriber records from Comcast Communications, Inc.,
      identified Shannon Stafford, 7215 Hidden Lake Drive, Fairview, Tennessee, as the
      subscriber.

34.   On or about November 26, 2019, the FBI conducted records checks on Stafford and 7215
      Hidden Lake Drive, Fairview, Tennessee, to identify any adult males residing at the
      residence. Records checks identified Christopher Andrew Stafford, date of birth
      02/19/1972, as residing at the same address. A Tennessee driver's license photograph of
      Stafford, issue date 07/31/2015, was obtained. The driver's license photograph was
      compared to the images sent by titansfan20180000 to complainant in April, June, and
      November of 2019. Based on this comparison, the user of titansfan20180000 was
      determined to be Christopher Andrew Stafford.

35.   The IP logins provided by Kik from November 4, 2019 to November 6, 2019 include two
      IP addresses: the aforementioned Comcast Communications IP address and 166.177.59.94.




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      AT&T was identified as the provider for IP address 166.177.59.94 but did not have any
      identifying records for that IP address.

36.   An open source internet query of "Christopher Stafford Nashville TN" provided results for
      a news article, https://www.nashville.gov/News-Media/News-Article/ID/2573/OffDuty-
      Officer-Christopher-Stafford-Arrested-on-DUI-Gun-Charges." The article included an
      image of Christopher Stafford, which matched the aforementioned Tennessee driver's
      license photograph. The article further indicated Stafford was arrested on DUI and gun
      charges in February 2014. At the time, Stafford was an off-duty North Precinct Officer.
      Stafford's criminal history lists an arrest for DUI on February 19, 2014, by Metropolitan
      Nashville Police Department for DUI with conviction of the same on July 29, 2014.

37.   An open source internet query of "Christopher Stafford Fairview TN" provided results for
      a business, Middle Tennessee Mobile Tire, LLC, operated by Stafford at his home address.
      Tennessee Secretary of State Business Entity Details confirmed this information, with an
      initial filing of June 3, 2019.

38.   According to a law enforcement database query in December 2019, the following
      individuals were listed as residents of 7215 Hidden Lake Dr., Fairview, Tennessee from at
      least March 2015 through December 2019: Christopher Andrew Stafford, Date of Birth
      (DOB) in February of 1972; Shannon Dare Hawk, DOB in January 1971; Bella Grace
      Hawk, DOB in July 2004; and Gracie Hawk, unknown DOB.

                                          Conclusion

39.   Based on the above information, I respectfully submit that there is probable cause to believe
      that possession, receipt, distribution, and transportation of child pornography offenses, in
      violation of Title 18, U.S.C. § 2252A and attempted sex trafficking of children offenses, in
      violation of Title 18 U.S.C. §§ 1591 and 1594 have been committed, and that evidence,
      instrumentalities, fruits, and contraband relating to this criminal conduct, as further
      described in Attachment B, will be found in the Subject Premises, as further described in
      Attachment A.

40.   I therefore respectfully request that this Court issue a search warrant for the residence
      located at 7215 Hidden Lake Drive, Fairview, Tennessee.




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